        Case 2:18-cr-00292-RJC Document 1068 Filed 03/22/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           )
                                                   )
           v.                                      )      Criminal No. 18-292
                                                   )
ROBERT BOWERS                                      )


   NOTICE OF INTENT TO FILE A RESPONSE TO THE GOVERNMENT’S
   BRIEF IN SUPPORT OF ITS MOTION TO EXAMINE MR. BOWERS AND
          PROPOSED EXAMINATION PROCEDURES (ECF 1059)
       In its brief in support of broad and unlimited access to Mr. Bowers, the

government provided, for the first time, the legal support for its Motion to Examine. ECF

1059; see ECF 1001 (“[T]he government presents only its proposed procedures. It defers

the recital of legal justification for such proposals pending the outcome of the meet-

and-confer process.”) (emphasis added). Not only does the brief in support rely upon

legal arguments that Mr. Bowers has not yet had an opportunity to address, it also

appears to expand the scope of the requests originally set forth in the government’s

Motion to Examine.

       Given the critical importance of these issues and the constitutional and statutory

protections at issue, the defense provides notice that it intends to file a response to the

government’s brief within the next 7 days.
Case 2:18-cr-00292-RJC Document 1068 Filed 03/22/23 Page 2 of 2




                            Respectfully submitted,



                            /s/ Judy Clarke
                            Judy Clarke
                            Clarke Johnston Thorp & Rice, PC

                            /s/ Michael N. Burt
                            Michael N. Burt
                            Law Offices of Michael Burt, PC

                            /s/ Michael J. Novara
                            Michael J. Novara
                            First Assistant Federal Public Defender

                            /s/ Elisa A. Long
                            Elisa A. Long
                            Supervisory Assistant Federal Public Defender

                            /s/ Ashwin Cattamanchi
                            Ashwin Cattamanchi
                            Assistant Federal Public Defender
